
59 N.Y.2d 802 (1983)
Corrado Borgia, as Administrator of The Estate of Rosario Borgia, et al., Appellants,
v.
Interboro General Hospital, Defendant, and Umberto De Girolamo et al., Respondents.
Court of Appeals of the State of New York.
Argued April 29, 1983.
Decided June 2, 1983.
Douglas E. McKeon and John J. Tullman for appellants.
Frederick N. Gaffney and Henry M. Primavera for respondents.
Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, MEYER and SIMONS concur.
*803MEMORANDUM.
The order of the Appellate Division should be affirmed, with costs.
While a disabling illness may excuse an attorney's delay in serving a complaint, in this case the default occurred well after the illness and therefore the default was not excused. Accordingly, the Appellate Division did not abuse its discretion in granting defendants' motion to dismiss the complaint.
Order affirmed, with costs, in a memorandum.
